         1:17-cv-01354-JES # 52          Page 1 of 1                                                 E-FILED
                                                                 Tuesday, 10 September, 2019 11:35:31 AM
                                                                              Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

STEVEN D. LISLE, Jr.,

                 Plaintiff,

        vs.                                                    Case No. 17-cv-1354

HADSALL, et al.,

                 Defendants.

                                  STIPULATION TO DISMISS

        NOW COMES the Plaintiff, Steven D. Lisle, Jr., Pro Se, and the Defendants, Warren

Hadsall, Timothy Lindsay, Randall Meister, Susan Prentice, and Todd Punke, by their attorney,

Kwame Raoul, Attorney General for the State of Illinois,.and hereby stipulate to the dismissal of

this case with prejudice. The Plaintiff and the Defendants agree as follows:

        1.       This lawsuit shall be dismissed with prejudice and without leave to reinstate.

        2.       Each party shall bear their own attorney's fees, costs and expenses.

AGREED:



                                                       Date:
Steven D. Lisle, Jr.
Pro Se



Alan Williams
                                                       Date:         ( A
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No. 17-cv-1354                                                                             Page 1 of 1
